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                  IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF WEST VIRGINIA


BARBARA KIMBLE,

            Petitioner,

v.                            //          CIVIL ACTION NO. 1:07CV104
                                          CRIMINAL NO. 1:06CR21-2
                                               (Judge Keeley)

UNITED STATES OF AMERICA,

            Respondent.


               ORDER ADOPTING REPORT AND RECOMMENDATION

      On   August    3,   2007,    pro   se   petitioner,     Barbara   Kimble

(“Kimble”), filed a petition pursuant to 28 U.S.C. § 2255 to

Vacate, Set Aside, or Correct Sentence by a Person in Federal

Custody.      The   Court   referred     this   matter   to    United   States

Magistrate Judge John S. Kaull for initial screening and a report

and recommendation in accordance with Local Rule of Prisoner

Litigation 83.15.      After receiving briefing from both parties, on

June 19, 2008, Magistrate Judge Kaull issued an Opinion and Report

and Recommendation (“R&R”) recommending that Kimble’s motion under

§ 2255 be denied and the case be dismissed.

      Kimble pled guilty to aiding and abetting in possession with

intent to distribute crack cocaine on May 25, 2006.              In the plea

agreement, the parties stipulated that the total relevant conduct

was at least 150 grams but less than 500 grams of crack cocaine.

Kimble was sentenced on September 27, 2006 to 135 months of

imprisonment with credit for time served from May 17, 2006.
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      In her § 2255 petition, Kimble asserts claims of ineffective

assistance of counsel and argues that her rights were violated

because she was not served with a copy of the search warrant.

Magistrate Judge Kaull thoroughly reviewed each of the four alleged

instances of ineffective assistance of counsel, and correctly

applied the two-part test set forth in Strickland v. Washington,

466 U.S. 668 (1984), but found no evidence of deficient performance

by her counsel, nor any evidence that, but for counsel’s errors,

Kimble would not have pleaded guilty.           He further concluded that

Kimble had no basis for her factual assertion that she was not

served with a copy of the search warrant in her case, given that

she signed the Property Receipt form as the owner of the items

seized during the execution of the search warrant, and that the

Government represented that Kimble was present during the search,

and was served with a copy of the warrant at that time.

      For these reasons, Magistrate Judge Kaull recommended denying

Kimble’s § 2255 petition and dismissing the case with prejudice.

The Report and Recommendation specifically warned that failure to

object to the recommendation would result in the waiver of any

appellate rights on this issue.           No objections were filed.1       On

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          The failure to object to the Report and Recommendation
not only waives the appellate rights in this matter, but also
relieves the Court of any obligation to conduct a de novo review of
the issue presented.    See Thomas v. Arn, 474 U.S. 140, 148-153

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June   30,    2008,   however,   the   Court    received   a   request    for   a

certificate of appealability from Kimble (dkt. no. 89 in 1:06cr21-

2), in which she states that she wishes to appeal the denial of her

§ 2255 petition.

       Although Kimble failed to file specific objections to the R&R,

the Court construes her request for a certificate of appealability

as an objection, and accordingly reviews the R&R de novo.                Because

Magistrate Judge Kaull correctly applied the Strickland test to

Kimble’s claims of ineffective assistance of counsel, and because

Kimble fails to dispute the Government’s claim that she was, in

fact, served with the search warrant, or to refute the Property

Receipt which she signed at the time of the execution of the search

warrant, the Court finds no error in the Magistrate Judge’s R&R.

       For    these   reasons,   the    Court     ADOPTS   the    Report    and

Recommendation in its entirety (dkt. no. 88 in 1:06cr21-2, and dkt.

no. 14 in 1:07cv104), DENIES the motion under § 2255 to Vacate, Set

Aside, or Correct Sentence by a Person in Federal Custody (dkt. no.

71 in 1:06cr21-2 and dkt. no. 1 in 1:07cv104) and ORDERS Kimble’s

case DISMISSED WITH PREJUDICE and stricken from the Court’s docket.

       In addition, the Court now addresses Kimble’s request for a



(1985); Wells v. Shriners Hosp., 109 F.3d 198, 199-200 (4th Cir.
1997).

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certificate of appealability in light of its decision to deny her

§ 2255 petition.      Under 28 U.S.C. § 2253(c)(1)(B), an appeal from

the final order in a proceeding under section § 2255 may not be

taken to the circuit court of appeals unless a circuit judge issues

a certificate of appealability.           This certificate may be issued

only if the applicant has made a “substantial showing” that a

constitutional right has been denied.          28 U.S.C. § 2253(c)(3).

      In this case, as discussed above, Kimble failed to object to

the Magistrate Judge’s R&R, and she provides no argument in her

request for a certificate.          Consequently, the Court finds that

Kimble has not made a “substantial showing” that her constitutional

rights have been violated, and therefore DENIES her "Motion for

Certificate of Appealability" (dkt. no. 89 in 1:06cr21-2).

      It is so ORDERED.

      The Court DIRECTS the Clerk to transmit a copy of this Order

to counsel of record, and to mail a copy to the pro se petitioner,

certified mail, return receipt requested.

Dated: October 17, 2008



                                          /s/ Irene M. Keeley
                                          IRENE M. KEELEY
                                          UNITED STATES DISTRICT JUDGE




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